Case 1:18-cv-10646-MLW Document 144-3 Filed 12/23/22 Page 1 of 3




                     Exhibit C
                Case 1:18-cv-10646-MLW Document 144-3 Filed 12/23/22 Page 2 of 3


Am y Barsky

Fro m :                            Elizabeth Bostwick < elizabeth.bostwick@boston.gov>
Sent :                             Thursday, December 22, 2022 4:58 PM
To :                               Amy Barsky
Cc:                                Sarah McAteer; William Fick; Daniel Marx; Sophia Hall
Sub ject :                         Re: Coleman - sanctions motion


Amy,

Reading Commissioner Evans' deposition, the majority of the questions he was unable to fully address were about 2020
and later revisions of Rule 303. We take the position that this is beyond the scope of the Court's order on the topic of
303.

We attempted to have a candid conversation on November 2nd ahead of the continued 30 b (6) deposition, to clarify
what exactly Plaintiff's counsel sought to ask, including questions relating to 303, so that the Commissioner could be
adequately prepared to answer the questions.Commissioner Evans was not, and could not be the City's designee for
anything related to Rule 303 in 2020, four years after the incident, and after he left the City. Attorney Fick indicated
that Plaintiff would provide some guidance to this end, but instead we received an email that only restated the broad
30(b)(6) topics.

Had the Plaintiff's counsel indicated in our telephone call that the Plaintiff wanted to know about Rule 303 issued in
2020, the City would have undertaken to prepare and identify a different witness, and/ or sought additional relief from
the Court. The situation as it stands is the creation of the Plaintiff's failure to adequately disclose what she wanted. I
asked what information did the Plaintiff feel that she did not get and/ or still need an answer to.

The "clarification" we received relating to Rule 303 was that Plaintiff sought to ask the Commissioner about "any re-
examination, evaluation, or evolution of Rule 303 by the BPD." This is incredibly broad and did not give the City
reasonable notice that Plaintiff intended to ask the Commissioner about what was essentially legislative action taken
after the murder of George Floyd, four years after the incident in question. We would have objected to this line of
questioning ahead of time had we known Plaintiff intended to ask such questions. Further, in response to the Court's
Order, the City provided Plaintiff with 141 pages that included all versions of Rule 303 and all Standing Orders amending
Rule 303 from 2004 through the present. This more than adequately addresses the evolution of Rule 303.

Commissioner Evans answered fully and completely any and all questions about the critical time period 2016 (the year
of the incident) until when he left in 2018. He also addressed Rule 303 as it then existed as well as any changes to Rule
303 which as he stated, there were none, as nothing needed to be done regarding Rule 303 after this incident up to the
time he left. Commissioner Evans was not qualified to answer any questions about any BPD rule or regulation after he
left BPD nor would any other police commissioner.

Although we are unlikely to agree with Plaintiff's motion for sanctions, we are available to talk if there are any other
facts outstanding that may be addressed by Sgt. Pratt or otherwise addressed before filing. Also, to the extent you have
further questions about the signature that appears on the return of firearms forms, the City can answer these questions
through Sgt. Pratt.



Elizabeth L. Bostwick
Senior Assistant Corporation Counsel
City of Boston Law Department

                                                             1
                 Case 1:18-cv-10646-MLW Document 144-3 Filed 12/23/22 Page 3 of 3
Boston City Hall, Rm 615
One City Hall Square Boston MA 02201
Phone: 617-635-4031
Fax: 617.635.3199
Email: elizabeth.bostwick@boston.gov

The information contained in this electronic transmission (“e-mail”), including any attachment (the “Information”), may
be confidential or otherwise exempt from disclosure. It is for the addressee only. This Information may be privileged
and confidential attorney work-product or a privileged and confidential attorney-client communication. The
Information may also be deliberative and pre-decisional in nature. As such, it is for internal use only. The Information
may not be disclosed without the prior written consent of the Corporation Counsel of the City of Boston. If you have
received this e-mail by mistake, please notify the sender and delete it from your system. Please do not copy or forward
it. Thank you for your cooperation.


On Thu, Dec 22, 2022 at 12:52 PM Amy Barsky <abarsky@fickmarx.com> wrote:

 Liz, Sarah,



 We intend to file a motion for sanctions against the City for discovery violations. We will ask that the Court direct that
 certain facts be treated as established, given Evans’ inability to answer questions; that the remainder of deposition(s)
 proceed under “live” judicial supervision; and that fees/ costs be awarded to Plaintiff in an amount to be determined
 when discovery is complete. While we do not expect that you will agree to any of the requested relief, we are
 nevertheless available to discuss, per the local rules, if there may be ways for us to narrow areas of
 disagreement. Please let us know.



 Also, we intend to use the June, 2020 amendment to Rule 303 as an exhibit (Ex 1 to Evans depo). Would the City agree
 to withdraw the "confidential" designation of that document so that it can be filed on the public docket? Conversely,
 Boyle and Finn's health evaluations were not designated confidential. We assume that was inadvertent and will file
 those under seal, to the extent we use them. We intend to file today or tomorrow.



 Thanks,

 Amy




 Amy Barsky

 Fick & Marx LLP

 24 Federal St. 4th Fl.

 Boston, MA 02110
                                                             2
